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IN THE UNlTED STATES DISTRICT COURT
FOR THE DISTRlC'l` OF MARYLAND

CRISTY LEE RlPPLE *
Plaintiff
*
v. Case No. WDQ-l 1-3279
*
RAVI YALAMANCI-IILI, M.D., et al
Defendant "‘*****
ORDER OF JUDGMENT

The jury having returned a verdict on November 22, 2013 in favor of the Defendant, Ravi

Yalamanchili, M.D. against the Plaintiff, Cristy Lee Ripple it is this 52 day of

December, 2013,

ORDERED,

l. Judgment is entered in favor of Defendant, Ravi Yalamanchili, M.D. against

Plaintiff, Cristy Lee Ripple, with costs; and

2. Any and all prior rulings made by the Court disposing of any claims against any

parties are incorporated by reference herein, and this Order shall be deemed to be a final

judgment within the meaning of Fed. R. Civ. P. 58.

     

W' am D. Quarles, Jr.
nited Stares District Judge

Order of .ludgmcnt (in favor of Dcfcndam) (Rcv l2/2000)

